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11

12                            L1~~TITED STATES DISTRICT COLTRT
13                       FOR T~~ CENTI~:.A.L DISTRICT OF CALIFOT~TIA
14                                                     Civil Case No.:
      T~~E WALT DISNEY CO~PANY~,
15

16          Plaintiff,
                                                             •             1   t       1
17          C~                                           ~       ~   ~ ~   ~'      ~

18
      AID SPECIALTY INS~:~ZANCE                        Hearin
19    COl~~IPAI~~~ f/k/a C~~.ARTIS SPECIALTY            ate
      INSL:~ZA.NCE COl~~IPANY,                         Tlme:
20                                                     Courtroom:
                                                       -Ion.
21          Defendant.
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1          The Walt Disney Company("T~J~DC")respectfully asks the Court to compel the
2    defendant insurance company to arbitrate the parties' coverage dispute        as the insurance
3    company promised to do. Defendant AIG Specialty Insurance Company("AIG")sold an
4    insurance policy that gives T~~DC the right to elect arbitration of any coverage dispute.
5    Whin the parties reached an Impasse over coverage for an underlying lawsuit, T~J~DC
6    elected arbitration and filed an arbitration demand with JAl~~IS Los ~~.ngeles. T~iTDC then
7    placed that arbitration on hold pending negotiations with AIG on certain arbitration
8    elements. When those negotiations ended and T~~DC notified JAMS Los Angeles to
9    proceed, AIG responded that it would attempt to litigate the dispute in a courtroom.
10         The Alternative Dispute Resolution("ADR")Clause ofthe AIG policy and all
11   applicable authorities re~uire that the dispute be arbitrated, not litigated in court. The
12   only court that has issued a written opinion addressing AIG's interpretation ofthe clause
13   at issue re'J e~ted AIG's position as a "nonsensical and unfair reading." ~?~'est Comm.'s
14   Internat'l v. Nat. Union Fire Ins. Ca., 821 A.2d 323, 328-29(Del. Ch. 2002). A.11
15   elements necessary to compel arbitration are.. met. The AIG policy involves interstate
16   commerce• the policy contains a valid agreement to arbitrate; and the dispute in question
17   falls within the scope of the agreement to arbitrate.
18          The Court should compel AIG to participate In the arbitration TWDC filed at
19   JAMS Los Angeles.
20                                      •         i;•        '1       i

21          T~DC seeks insurance coverage for an underlying lawsuit against one of its
22   subsidiaries and other insureds (the "Lawsuit"). AIG, among several other insurance
23   companies sold T~iTDC insurance policies applicable to the Lawsuit. In the summer of
24   2417 after a few vc~eeks of trial, the Lav~suit was resolved by settlement. All of T~►jDC's
25   insurers in the same insurance program        except AIG and its one of its affiliates
                                                                            except AIG and its
26   provided or waived consent to settlement. All those insurers again
27   affiliate agreed to contribute in full to the settlement. Declaration of Martin ~I. l~~Iyers
28   C"l~~Iyers Decl.")~ 11 5.   AIG declined to contribute and denied coverage. Id.

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1           TWDC elected to arbitrate its dispute with AIG. The AIG policy "follows" (i.e.,
2    incorporates)the controlling ADR Clause in the lead primary policy issued by Illinois
3    Union Insurance Company. Myers Decl., Ex. 1 at §SIX; Ex. 2 at 1-2 of policy form;
4    Ex. 3 at 2. That ADR Clause provides that the parties "shall submit any dispute or
5    controversy arising out of or relating to this Policy ... to the alternative dispute
6    resolution(`ADR') process set forth in this Section." l~~Iyers Decl., Ex. 1 at § XIX. The
7    policies define the "ADR process" as either "Mediation"(a tern that expressly requires
8    the American Arbitration Association's mediation process be followed)1 0~ "arbitration."
9    Id. While the policies let AIG elect between arbitration and mediation in the first
10   instance, they specifically give T~►TDC "the sight to reject the choice by[AIC~ at any
11   tiYne ~io~ to i- ts commencement." Id. (emphasis added). Indeed, the policies state that
12   "the choice bY[TWDC~ o,f'14DR process shall control." ~d.(emphasis added).
13          On June 22, 2Q 17, AIG gave T~iTDC notice of its election of mediation and
14, proposed that the parties mediate at JAl~~IS, l~~Iyers Decl., Ex. 3 at 2. At the time, trial of

15   the underlYIng Lawsuit was in full swing. Settlement discussions in the Lawsuit were
16   onlY in the offlng and not completed. TWDC responded to AIG six days later, on June
17   28 noting TV~►TDC's right to choose the controlling alternative dispute resolution process.
18   l~~IYers Decl., Ex. 4 at 1. TWDC explained that it had "not determined ...what ADR
19   process it will elect," id. at 1, and that itwould make its ADR election once the
20   settlement ofthe Lawsuit which had been brokered in the Interim          had "been
21   consummated,"id. at 2. TV~~TDC pointed out that AIG's position ~ i.e.,that its June 22
22   letter somehow "commenced" mediation, was in error. Id. at 1. In fact, no mediation
23   commenced or occurred. The parties did not select a mediation provider. Id.'~ 8. They
24

25
     1 "l~~Iediation" is defined as a "non-binding process in which a neutral panel or individual
26   assists the parties in reaching a settlement agreement." Further,"[t]o be considered
     1Vlediation under this Policy,the process must be as set forth in the Commercial
2~
     l~~Iediation Rules ofthe American Arbitration Association, or such other process as the
28   Insurer may, at its sole option, approve." Ex. 1 at § XIX.


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1    did not select a neutral mediator    either a panel or an individual. ~d. They did not
2    submit or exchange mediation briefs or materials. Id. They did not attend a conference.
3    Id. Nothing. AIC conceded that the parties' .dispute (about the mechanics of arbitration)
4    "may be academic in the event that[TYiI.~C~ agrees to mediation." Myers Decl., Ex. 5 at
5    2(emphasis added). TWDC never did..~d. at ~j 8.
6          Just as T~iTDC had promised, shortly after the Lavc~suit settlement was
7    consummated, T~iTDC notified AIG that T~iTDC "elect[ed] arbitration." Myers Decl., Ex.
8    ~ at 1. Though the ADR Clause is silent as to ~~UR provider, the parties appeared to
9    agree on JA.~✓IS, and TWDC filed its arbitration demand at JAl~~IS Los Angeles that day.
to   Id. Los Angeles was selected because California is one ofthe two locations in Which
11   arbitration properly may be commenced under the ADR Clause, and many of the
12   documents, witnesses, and materials relevant to the dispute are located here. l~~Iyers
13   Decl., Ex. 1 at § XIX and Declarations, Item 1 (identifying Burbank, California as the
14   "Princi al Address" of TV~~DC). However, T~i~DC also proposed to "discuss ... with
15   AIG ... aspects ofthe arbitration," such as the make-up of the arbitration panel. l~~Iyers
16   Decl., Ex.6 at 1. The parties continued those discussions, as well as discussions as to
17   arbitration between T~i~DC and another AIG insurer in the same insurance program, for
18   about another month. See Myers Decl., Exs. 8, 1 a, and ~ 11. The parties made some
19   progress. As T~iTDC confirmed in a letter, the parties appeared to agree on the use of
20   JAMS and its Rules and Procedures, and that JAl~~IS Rule 5(a)(1) regarding
21   commencement of arbitration had been satisfied. Myers Decl., Ex. 8 at 2. AIG did not
22   dispute these items. l~~Iyers Decl., ~ 14.
23         However, aweek-and-a-half later the further negotiations broke down. See Myers
24   Dec1., Exs.9 and 10. As a result, T~►TDC asked JAl~~IS Los Angeles to resume the paused
25   arbitration proceed.ings, l~~Iyers Decl., Ems. 9 at 1, and expressed regret that the parties
26   could not "come to agreement on further aspects of the arbitration(s)," 1~~Iyers Decl., Ex.
27   10. In response AIG wrote: "See you in court as they say." Id.
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1           AIG thereafter resuscitated the claim that its June 22 letter had "commenced"
2    mediation, contending that it never consented to the use of JA,~✓I~ (or its rules). AIG
3    baldly asserted that T~iTDC did not have the right to arbitrate. AIG made clear itwould
4    litigate, warning J1~►MS to "refrain from taking any action ultra vies while the parties
5    litigate their differences." Myers Decl.; Ex. 11 at 3. On October 13, JAMS LA notified
6    TWDC and AIG that JAMS would not proceed with arbitration absent a court order on
7    the grounds that the ADR Clause did not specifically "call for JAl~~IS administration."
8    l~~Iyers Decl., Ex. 12.
9                                          ARGUl~~IENT
10          The AIG policy, the law, and the facts all demonstrate that the parties' coverage
11   dispute is subject to arbitration. AIG should be compelled to arbitrate its dispute against
12   T~►TDC at JAMS Los Angeles. The Federal Arbitration Act requires courts to "rigorously
13   enforce an agreement to arbitrate." Acke~be~g v. Cztico~p USA,.Inc., 898 F. Supp. 2d
14   1172, 1175 N.D. Cal. 2012). AIG claims that it "commenced" mediation simply by
1S   saYin~ "AIG commences mediation," that TWDC's election of arbitration cannot control,
16   and that AIG is free to litigate. AIG's positions lack any merit. The only court to have
17   addressed AIG's farfetched argument squarely rejected it as "nonsensical and unfair."
18   ~1,~'est, 821 A.2d at 328-29. The Court should reject it here as well.
19   I.     TWDC's Election of Arbitration "Shall Control."
20          The AIG policy makes clear that TV~~DC's election of arbitration "shall control."
21   T~J~DC made that election, AIG refused to comply, and the Court should now compel
22   arbitration.
23          The ADR Clause requires the parties to "submit any dispute or controversy ... to
24   the alternative dispute resolution ...process set forth in this Section." Ex. 1 at § XIX.
25   That language permits two forms of ADR,"non-binding l~~Iediation"(a defined tern)
26   and "arbitration" which "shall be final and binding." Id. (emphasis in original). VV:hile
27   the clause exploins that "[e]ither an Insured or the Insurer may elect the type of.~~.DR
2$   process"it goes on to say, p~ovided, that the Insured[z.e., ~'T~~DCJ shall have the sight

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 1   to reject the choice by the Insu~e~ ~z.e., A~G~ ofthe type o~`'~1DR process at any time prior
2    to its commencement." Id. ~empbasis added). AIG chose mediation through Its June 22,
3    2017 letter, and TWDC promptly rejected that choice In its June 28, 2017 letter. Ex. 4.
4    The ADR clause makes clear that T~~DC's choice         not AIG's "shall control." Ex. 1 at
5    §XIS.
6          AIG's position that it actually "commenced" a mediation on June 22just by
~    saying "AIG commences mediation" lacks merit for at least four reasons. First, AIG's
 g   construction would render two parts ofthe ADR Clause illusory and superfluous. AIG
9    seeks to negate:(1)TV~►TDC's express right to reject AIG's choice of the ADR process,
10   and(2)the provision stating T~►TDC's election will control. At a minimum,this violates
11   the fundamental rules of insurance policy construction that clauses must be read to give
12   effect to each part, to avoid redundancy and surplus. Palmer v. Tuck Ins. Exch.(1999)
13   21 Cal. 4th 1109, 1116; Great T~Tleste~n D~y'~'vall, Inc. v. Intestate Fire & Cas. Co.(2008)
14   161 Cal. App. 4th 1033, 1042; Cal. Giv. Code § 1641.
1~         Second, AIG's position violates and cannot be reconciled with the policy's express
16   definition of"l~~Iediation" as a "non-binding process in which a neutral panel or
1~   individual assists the parties in reaching a settle~r~ent agreement." Nothing was
1g   commenced before a neutral panel or individual who assisted the parties. l~~Iyers Decl.,
19     g. The AIG policy further states that "[too be considered l~~Iediation under this Policy,
20   the process must be as set forth in the Commercial l~~Iediation Rules ofthe American
21   Arbitration Association, ar such other process as the Insurer may, at its sole option,
22   approve." No process commenced, let alone the specific process set forth in the A.AA
23   Mediation Rules or any process AIG identified. and approved. Myers Decl., ~ 8. In fact,
24   TWDC informed AIG promptly after AIG stated its choice of mediation on June 22
25    while trial ofthe underlying Lawsuit was ongoing)that mediation had not commenced.
2~   Ex. 4. Since that time neither side has taken any action whatsoever to mediate. Myers
27   Decl., ~ 8; see also Ex. S.
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1          Third, in the only written decision T~iTDC has located construing an arbitration
2    clause Identical in all material respects to the clause at issue here, the Delaware Chancery
~    Court rejected AIG's position in short order. ~?~'est, 821 A.2d at 328-29. That case
4    involved another AIG insurance company. The insurers in that case asserted, as AIG
5    does here, that they "could always trump [the policyholder's] right to reject their choice
6    of ADR simply by communicating their choice at the same time that they communicated
~    ~that~ they had filed a demand for ...mediation." .~d. at 32$. The ~h~'est court held it
g    would "not countenance such a nonsensical and unfair reading ofthe contract," Id. "The
9    onlY sensible and fair way to construe the policy language is to read it as requiring that, if
10   the carriers make an election about the type of ADR,they must communicate that
11   election ... in a way that affords [the policyholder] a reasonable opportunity to reject the
12   carriers' choice." Id.
13         FinallY~ the "merits" of AIG~'s position should be decided by the arbitration panel
14   once convened. The olicy's ADR Clause applies to "ally C~.1SpUte Or C011trOVerSy ar1S111~
15   out of ar relating to Cthe~ PolicY or its breach, termination or invalidity." Ex. 1 at §SIX.
1~   T~11S 1S 111C~.1St111gulshable from what the Ninth Circuit has referred to as a "broad and far

1~   reaching"clause that requires arbitration of all issues between the parties, irrespective of
1g   "whether the problem at hand is the construction of the contract language itself or an
19   allegation of vc~aiver Belay~ or a like defense to arbitrabilit~'." Chiron Copp. v. O~tho
20   Diagnostic Systems, Inc.,207 F. 3d 1126, 1131 (9th Cyr. 2000)(quoting 1Vloses H. Cone
21   ~,~~m 'l Hosp. v. 1~le~cu~y Const~. Copp.,460 V.S. 1, 26(U.S. 1983)). JAMS declined to
~2   be in administration ofthe arbitration solely because the ADR Clause does not
23   specifically "call for J1~1~✓IS administration" (it does not identify any ADR provider), not
24   because AIG's position is not arbitrable. AIG's argument about the meaning ofthe
                                                                                          scope
25   policY term "commence" is a dlspute "relatin~ to Cthe] Policy" that falls within the
26   ofthe ADR Clause, and it too must be resolved in arbitration.
27         The prindl~le that "any doubts concerning the scope of arbitrable issues should be
28   resolved in favor of arbitration," ~~oses H. Cone,460 U.S. at 24--25, has been repeated

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1    time and again by the United States Supreme Court, including in circumstances Where, as
2    here, the alleged dispute involves a threshold issue regarding whether the arbitration itself
3    will proceed. "[C]ourts presume that the parties intend arbitrators, not courts, to decide
4    disputes about the meaning and application of particular procedural preconditions for the
5    use o~ arbitration." BG Gip., PAC'v. Republic ofArgentina, 134 S. Ct. 1198, 1207
6    (2014). Thus, procedural arguments about the arbitration clause itself are properly
7    addressed in arbitration, not in this or any other court.               e
8    II.   The Federal Arbitration Act Compels Arbitration.
9          The Federal Arbitration Act requires courts to compel arbitration Where a party
10   refuses to arbitrate and the Act applies to the contract at issue. As established above,
11   AID has refused to arbitrate. To determine whether the Act applies, courts look to three
12   factors: whether the contract involves interstate commerce;whether there is a valid
13   agreement to arbitrate; and whether the dispute falls within the scope of the agreement to
14, arbitrate. See Republic ofNicaragua v. Standard Fruit Co.,937 F.2d 469, 477(9th Cir.

15    1991}; Acke~be~g, 898 F. Supp. 2d at 117. Each condition is met here.
16          A,    AIG Has Refused to Arbitrate But Has Endorsed JAMS.
17          As of October 6, AIG refused to arbitrate, Writing to T~►TDC:"See you in court."
18   Ex. 10. On October 9, AIG wrote to JAMS,"[w]e trust JAl~/ISwill refrain from taking
19   any action ultra vies while the parties litigate their differences." Ex. 11 at 3. Because
20   the ADR Clause does not specify JAl~~IS as ADR provider, JAl~~S declined to begin
21   administration without a Court order. Ex. 12.
22          AIG's repudiation ofthe contractual requirement that it arbitrate appears to be
23   based on location, and not JAMS as ADR provider. The ADR Clause does not specify an
24    ADR provider. Ex. 1 at §XIS. When AIG learned that T~iTDC had filed its arbitration
25   demand at JAMS Los Angeles, AICT responded "our client ~wauld be amenable to using
26   JAMS's New York office." Ex. at 2. As the parties attempted to negotiate further
27   aspects of the arbitration~ AIG consistentlY agreed to use JA11~IS and JAl~~IS Rules and
28   never suggested an ADR provider other than JAl~~IS. l~~Iyers. Decl.,'~ 14; Exs. ~-8. On


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1    September 25, T~iTDC noted again the parties' agreement on JAl~~IS and JAMS Rules and
2    specifically confirmed that the parties had satisfied Rule S(a)(1) ofthe JAl~~IS Rules and
3    Procedures. Ex. 8. AIG never objected or said otherwise      at least, not until after further
4    negotiations about the mechanics and location of the JAl~~IS arbitration broke down.
5    l~~Iyers Decl., ~( 14.
6           The ADR Clause expresslyprovides for arbitration in California. Ex. 1 at § XIX.
7    TWDC filed in Los Angeles, where many of the documents, witnesses and materials
8    relevant to the dispute are located. AIG consistently agreed to use JAMS and JAl~~IS
9    Rules until it decided Wrongfully to repudiate arbitration, and has offered no reason or
10   explanation why arbitration should not proceed at JAl~/IS Los Angeles pursuant to
11   TWDC's demand.
12          The Court should co~r~pel arbitration ofthe parties' dispute at J~►~✓IS Los Angeles.
13          B.      The Basic Conditions of the FAA Are Met.
14          In light of AIG's refusal to arbitrate, the FAA entitles TWDC to a court order
15   compelfing arbitration if three basic conditions are met. See 9 U.S.Q. § 4("[The] paY-~ty
                                    4




16   aggrieved bY the allyged ...refusal of another to arbitrate under a written agreement for
17   arbitration Cmay~ petitlon any United States district court ...for an order directing that
18   such arbitration proceed in the manner provided for in such agreement."). Namely,the
l~   contract must involve interstate commerce, it must contain a valid arbitration agreement,
20   and the dispute must fall within the scope of that agreement.
21                  1.        The Contract Involves Interstate Commerce.
22           AIG cannot dispute that the AIG policy involves interstate commerce as required
23    by ~ ~L1.S.C. § 2. The FAA defines "commerce" to mean, among other things,"commerce
24    aniong the several States ...." 9 U.S.C. § 1. Section 2's interstate commerce language
25    is irate~retell broadlY.See Allied-B~uce Te~minix C'ompanzes, Inc. v. Dobson, S 13 U.S.
26    265 26$ 274--~5 1995 . A contract made between citizens of separate stags necessarily
27    involves interstate commerce. See, e.g.,Krause v. Barclays Bank Delaware, No. 2:13
28    CV-01734-MCE-AC 2013 ~'iTL 61452 1, at ~2(E.D. Cal. Gov. 21, 2013); Bank o~'Am.,

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1    N.~. v. Micheletti Famzl~ P'ship, No. 0$-02902 JSW,2008 V'~TL, 4571245, at '~4(~.D.
2    Cal. Oct. 14, 2008). TWDC maintains its corporate headquarters in Burbank, California.
3    Ex. 1 at 1. AIG is headquartered in New work, New work. Ex. 2 at Declarations. The
4    contract at issue concerns insurance for claims worldwide. Ex. 1 at § XV. There is no
5    reasonable dispute that the policy involves interstate parties and interstate commerce.
6                 2.     The Arbitration Clause Is a Valid Agreement to Arbitrate
7           AIG, having incorporated the ADR Clause into its Policy(by "following form"),
8    cannot now assert its adopted clause is Invalid. The ADR Clause makes clear that AID
9    and T~iTDC established a valid agreement to arbitrate. Ex. 1 at § XIX. AIG agrees,
to   having itself invoked the clause. Ex. 3; see also ~h~'est, 821 A.2d at 323(AIG affiliate
11   attempting to enforce essentiallY identical arbitration clause).
12                3.     The Dispute Falls Within the Scope of the Agreement to Arbitrate
13          1`1or can AICJ contend that the scope of the dispute falls outside the ADR Clause.
14   That clause is expansive. It states the parties "shall submit any dispute or controversy
15   arising out of or relating to the Policy or the breach, termination, or invalidity thereofto
16   the ~ADR~process ... ," Ex. 1 at § XIX. This language certainly covers AIG's breach
17   of contract by refusing to cover the underlying Lawsuit, as alleged in the arbitration
18   demand. AIG never has said otherwise.
19          AIG has refused to arbitrate, the AIG policy involves interstate commerce,the
20   ADR Clause constitutes a valid agreement to arbitrate, and the dispute falls within the
21   scope of the ADR Clause. Thus, T~►IDC is entitled to compel AIG ~o arbitrate.
22   III. The Facts and Public Policy Require Arbitration.
23          AIG's wishes to arbitrate in New York rather than Los Angeles, and to accomplish
24   that end has repudiated and violated its own ADR Clause based solely on an argument
25   previously rejected by the only court to consider it as "nonsensical and unfair."
26    Moreover, courts routinely make clear that public policy requires the enforcement of
27    arbitration provlsions whenever possible. See, e.g.,.~7oses H. Cone,460 U.S. at 24-25;
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     Chiron, 207 F. 3d at 1131. Here, the AIG policy language and the facts demand that the
     Court compel AIG to arbitrate this dispute at JAMS Los Angeles.
                                        CONCLUSION
           Based on the foregoing, T~~DC respectfully requests that the court order AIG to
     proceed with arbitration at JAMS Los ~~ngeles.



      DATED: Cactober 17, 2017                COVINGTON 8~ BURLING I~]~'
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